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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Loren                                                            Teresa
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        George                                                           Karleen
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   DeMers                                                           DeMers
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



                                                                                                    Teresa K DeMers
2.   All other names you have                                                                       Tersa DeMers
     used in the last 8 years Loren G DeMers
                                                                                                    FKA Tersa Karleen Wattman
     Include your married or       Loren DeMers
                                                                                                    FKA Teres K Wattman
     maiden names.                                                                                  FKA Teresa Wattman



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-8474                                                      xxx-xx-2755
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Loren George DeMers
Debtor 2   Teresa Karleen DeMers                                                                      Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years
                                 FDBA LTD Consulting Inc.
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 2332 E Alcove Dr
                                 Grand Junction, CO 81507
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Mesa
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Loren George DeMers
Debtor 2    Teresa Karleen DeMers                                                                         Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          District of Colorado
                                              District    (Ch. 13 - Dismissed)          When     4/06/17                Case number      17-13015-MER
                                                          District of Utah (Ch.7 -
                                              District    Discharged)              When          7/11/03                Case number      03-32066
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Loren George DeMers
Debtor 2    Teresa Karleen DeMers                                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Loren George DeMers
Debtor 2    Teresa Karleen DeMers                                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Loren George DeMers
Debtor 2    Teresa Karleen DeMers                                                                         Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Loren George DeMers                                           /s/ Teresa Karleen DeMers
                                 Loren George DeMers                                               Teresa Karleen DeMers
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     November 26, 2019                                 Executed on     November 26, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Loren George DeMers
Debtor 2   Teresa Karleen DeMers                                                                          Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Michael Suchoparek                                             Date         November 26, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Michael Suchoparek 37055
                                Printed name

                                Weselis & Suchoparek, LLC
                                Firm name

                                517 E. 16th Ave.
                                Denver, CO 80203-1917
                                Number, Street, City, State & ZIP Code

                                Contact phone     303-296-3230                               Email address         Bankruptcy@TheFastFilers.com
                                37055 CO
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                  Loren George DeMers
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Teresa Karleen DeMers
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $32,005.53            Wages, commissions,                $12,586.79
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                                       Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                              Wages, commissions,                       $59,861.00            Wages, commissions,            $9,420.50
 (January 1 to December 31, 2018 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                        $22,403.50            Wages, commissions,            $3,298.27
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips
                                                       Operating a business                                           Operating a business

 For the calendar year:                               Wages, commissions,                       $10,284.00            Wages, commissions,          $73,029.36
 (January 1 to December 31, 2016 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year:                               Wages, commissions,                       $14,593.00            Wages, commissions,          $52,000.00
 (January 1 to December 31, 2015 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                       $154,896.00           Wages, commissions,                   $0.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                         Debtor 2
                                                  Sources of income                 Gross income from              Sources of income         Gross income
                                                  Describe below.                   each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                           $25,436.40
 the date you filed for bankruptcy:


                                                  Unemployment                                  $14,228.50
                                                  Compensation

 For last calendar year:                          Social Security                               $14,463.00
 (January 1 to December 31, 2018 )


                                                  Unemployment                                    $1,791.20
                                                  Compensation

 For the calendar year before that:               Social Security                                 $6,368.80
 (January 1 to December 31, 2017 )




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                                       Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income              Gross income
                                                   Describe below.                  each source                    Describe below.                (before deductions
                                                                                    (before deductions and                                        and exclusions)
                                                                                    exclusions)
 For the calendar year:                            Unemployment                                 $16,986.00         401K Withdrawal                         $6,488.48
 (January 1 to December 31, 2016 )                 Compensation


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Wells Fargo                                              09/2019; 10/2019;               $2,892.06          $25,808.63          Mortgage
       420 Montgomery St                                        11/2019                                                                Car
       San Francisco, CA 94104
                                                                                                                                       Credit Card
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                                       Case number (if known)


      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       M&T Bank v. Loren and Teresa                             Foreclosure                 Mesa County Public                          Pending
       DeMers                                                                               Trustee                                     On appeal
       Mesa Co. Sale No. 2017-0028                                                          Re Sale No. 2017-0028
                                                                                                                                        Concluded
                                                                                            544 Rood Ave
                                                                                            Grand Junction, CO 81501
                                                                                                                                     Foreclosure sale

       Jeffrey Foster; Jay Boyd; Mark                           Civil                       Harris County District Court                Pending
       Bransom; and Eudomario Castillo                                                      Re Cause No. 2018-51721                     On appeal
       v. WPX Energy Permian, LLC;                                                          49 San Jacinto St No. 303
                                                                                                                                        Concluded
       Marathon Oil Company; Marathon                                                       Houston, TX 77002
       Oil Corporation; Marathon Oil
       (West Texas) LP; Perfex Wireline
       Services, LLC; Ironclad Energy
       LLC; CD Consulting & Operating,
       Inc.; and Tres Management, Inc
       Cause No. 2018-51721


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:




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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                                       Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Weselis & Suchoparek LLC                                      Debtor also remitted the US                              07/01/2019                $1,999.00
       517 E 16th Ave                                                Bankruptcy Court Filing Fee.
       Denver, CO 80213


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you




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 Debtor 2      Teresa Karleen DeMers                                                                        Case number (if known)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                     Date Transfer was
                                                                                                                                           made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       The Storage Place                                                                                                                        No
       2384 Patterson Road                                                                                                                      Yes
       Grand Junction, CO 81505


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)




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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                                            Case number (if known)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case             Status of the
       Case Number                                                   Name                                                                      case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                                       Case number (if known)


             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        LTD Consulting Inc.                                     Oilfield Consulting - S Corp                     EIN:         XX-XXXXXXX
        2332 E Alcott Dr                                        Debtor-Husband has worked in
        Grand Junction, CO 81507                                this capacity on a fluctuating                   From-To      10/12/2006 - 08/2015 and 02/2017 -
                                                                basis over the past decaded given                             6/6/2019
                                                                market and industry conditions.



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Loren George DeMers                                                 /s/ Teresa Karleen DeMers
 Loren George DeMers                                                     Teresa Karleen DeMers
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      November 26, 2019                                             Date     November 26, 2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8
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 Fill in this information to identify your case:

 Debtor 1                   Loren George DeMers
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Teresa Karleen DeMers
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             381,489.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              57,286.59

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             438,775.59

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             437,270.80

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              25,184.21

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             111,253.89


                                                                                                                                     Your total liabilities $               573,708.90


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                6,347.70

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,491.02

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Loren George DeMers
 Debtor 2      Teresa Karleen DeMers                                                      Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       6,281.94


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            25,184.21

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             25,184.21




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Loren George DeMers
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Teresa Karleen DeMers
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF COLORADO

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        2332 E Alcove Dr                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Grand Junction                    CO        81507-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $381,489.00                $381,489.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Mesa                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Legal Description: Beg NE Cor Lot 4 Blk 1 Porters Redlands Sub Sec 17
                                                                                1S 1W S 65.5FT S 27DEG50'03SEC W 95.79FT S 89DEG44' W 115.29FT N
                                                                                16DEG09'26SEC E 156.38FT N 89DEG44' E 116.5 FT to Beg. Valued per
                                                                                Zillow.com.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $381,489.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Loren George DeMers
 Debtor 2        Teresa Karleen DeMers                                                                              Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Dodge                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Durango                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                160,000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         In fair condition, valued per
         KBB.com ($3,820)                                            Check if this is community property                                $3,820.00                  $3,820.00
                                                                     (see instructions)



  3.2    Make:       GMC                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Sierra 2500                                     Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
         Approximate mileage:                  23,500                Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         In Excellent condition, valued
         per KBB.com ($46,362)                                       Check if this is community property                              $46,362.00                 $46,362.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Komfort                                   Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Camper Trailer                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only
                                                                                                                              Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         In fair condition, valued per                               Check if this is community property                              $5,000.00                    $5,000.00
         NADA.com $6,600 and reduced                                 (see instructions)

         to $5,000 due to hail damage,
         leaks and water damage
         (Debtor-Husband lives in
         camper when working -
         necessary for work due to
         remote work locations and to
         haul work supplies)



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $55,182.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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         Case:19-20176-MER Doc#:1 Filed:11/26/19                                         Entered:11/26/19 15:51:15 Page20 of 81
 Debtor 1       Loren George DeMers
 Debtor 2       Teresa Karleen DeMers                                                               Case number (if known)


                                    Appliances ($100); Carpentry tools ($50); Dishes, china and crystal
                                    ($25); Clocks ($1); Vacuum cleaner ($10); Food ($100); Furniture
                                    ($300); Home computer ($50); Iron and ironing board ($5); Lawn
                                    mower or tractor ($50); Patio or outdoor furniture ($100); Rugs
                                    ($15); Silverware and utensils ($5); Small appliances ($50);
                                    Televisions & video equipment ($100); Camera equipment ($50)                                                 $1,011.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Bibles ($1); Collectibles ($10); Photographs ($5); Records, CDs,
                                    Audiotapes ($10); Videotapes ($15)                                                                               $41.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Fishing gear ($10)                                                                                               $10.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                    Browning A Bolt 300 WSM ($250)                                                                                 $250.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothing ($200)                                                                                                $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....

Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
          Case:19-20176-MER Doc#:1 Filed:11/26/19                                                                             Entered:11/26/19 15:51:15 Page21 of 81
 Debtor 1         Loren George DeMers
 Debtor 2         Teresa Karleen DeMers                                                                                                Case number (if known)



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                   $1,512.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                    Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                          Cash on hand
                                                                                                                                          ($145)                               $145.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                                                  Glacier Bank Checking Acct No. ...79
                                              17.1.                                               ($443.70)                                                                    $443.70


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                      % of ownership:

                                                  Interest in S Corporation, LTD Consulting, Inc.
                                                  (Assets: Glacier Bank Business Checking Acct
                                                  No. ...20 ($3.89); Debts: $0)                                                              100          %                        $3.89


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

Official Form 106A/B                                                                       Schedule A/B: Property                                                                  page 4
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 Debtor 1        Loren George DeMers
 Debtor 2        Teresa Karleen DeMers                                                                   Case number (if known)


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                          Surrender or refund
                                                                                                                                      value:

                                         AARP Term Life Insurance Policy ($0)                                                                           $0.00


                                         AARP Term Life Insurance Policy ($0)                                                                           $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 5
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 Debtor 1         Loren George DeMers
 Debtor 2         Teresa Karleen DeMers                                                                                                 Case number (if known)

        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................             $592.59


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $381,489.00
 56. Part 2: Total vehicles, line 5                                                                           $55,182.00
 57. Part 3: Total personal and household items, line 15                                                       $1,512.00
 58. Part 4: Total financial assets, line 36                                                                     $592.59
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $57,286.59              Copy personal property total       $57,286.59

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $438,775.59




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 6
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 Fill in this information to identify your case:

 Debtor 1                 Loren George DeMers
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Teresa Karleen DeMers
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2332 E Alcove Dr Grand Junction, CO                            $381,489.00                               $75,000.00      Colo. Rev. Stat. §§
      81507 Mesa County                                                                                                        38-41-201(1)(a), 38-41-201.6,
      Legal Description: Beg NE Cor Lot 4                                                  100% of fair market value, up to    38-41-202
      Blk 1 Porters Redlands Sub Sec 17                                                    any applicable statutory limit
      1S 1W S 65.5FT S 27DEG50'03SEC W
      95.79FT S 89DEG44' W 115.29FT N
      16DEG09'26SEC E 156.38FT N
      89DEG44' E 116.5 FT to Beg. Valued
      per
      Line from Schedule A/B: 1.1

      2004 Dodge Durango 160,000 miles                                 $3,820.00                                 $3,820.00     Colo. Rev. Stat. §§
      In fair condition, valued per KBB.com                                                                                    13-54-102(1)(j)(I), (III)
      ($3,820)                                                                             100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2015 GMC Sierra 2500 23,500 miles                               $46,362.00                                      $0.00    Colo. Rev. Stat. §§
      In Excellent condition, valued per                                                                                       13-54-102(1)(j)(I), (III)
      KBB.com ($46,362)                                                                    100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                          any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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 Debtor 1    Loren George DeMers
 Debtor 2    Teresa Karleen DeMers                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2007 Komfort Camper Trailer                                      $5,000.00                                  $5,000.00        Colo. Rev. Stat. §
     In fair condition, valued per                                                                                                13-54-102(1)(i)
     NADA.com $6,600 and reduced to                                                        100% of fair market value, up to
     $5,000 due to hail damage, leaks and                                                  any applicable statutory limit
     water damage (Debtor-Husband lives
     in camper when working - necessary
     for work due to remote work
     locations and to haul work supp
     Line from Schedule A/B: 4.1

     Appliances ($100); Carpentry tools                               $1,011.00                                  $1,011.00        Colo. Rev. Stat. §
     ($50); Dishes, china and crystal                                                                                             13-54-102(1)(e)
     ($25); Clocks ($1); Vacuum cleaner                                                    100% of fair market value, up to
     ($10); Food ($100); Furniture ($300);                                                 any applicable statutory limit
     Home computer ($50); Iron and
     ironing board ($5); Lawn mower or
     tractor ($50); Patio or outdoor
     furniture ($100); R
     Line from Schedule A/B: 6.1

     Bibles ($1); Collectibles ($10);                                     $41.00                                    $41.00        Colo. Rev. Stat. §
     Photographs ($5); Records, CDs,                                                                                              13-54-102(1)(c)
     Audiotapes ($10); Videotapes ($15)                                                    100% of fair market value, up to
     Line from Schedule A/B: 8.1                                                           any applicable statutory limit

     Clothing ($200)                                                     $200.00                                   $200.00        Colo. Rev. Stat. §
     Line from Schedule A/B: 11.1                                                                                                 13-54-102(1)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash on hand ($145)                                                 $145.00                                       75%        Colo. Rev. Stat. §§
     Line from Schedule A/B: 16.1                                                                                                 13-54-104(2)(a), 5-5-105,
                                                                                           100% of fair market value, up to       5-5-106
                                                                                           any applicable statutory limit

     Glacier Bank Checking Acct No. ...79                                $443.70                                       75%        Colo. Rev. Stat. §§
     ($443.70)                                                                                                                    13-54-104(2)(a), 5-5-105,
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to       5-5-106
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Loren George DeMers
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Teresa Karleen DeMers
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Internal Revenue Service                 Describe the property that secures the claim:                 $16,348.16              $381,489.00                     $0.00
         Creditor's Name                          2332 E Alcove Dr Grand Junction,
                                                  CO 81507 Mesa County
                                                  Legal Description: Beg NE Cor Lot 4
                                                  Blk 1 Porters Redlands Sub Sec 17
                                                  1S 1W S 65.5FT S 27DEG50'03SEC
         Attn Bankruptcy                          W 95.79FT S 89DEG44' W 115.29FT
         Department                               N 16DEG09'26SEC E 156.38FT N
         PO Box 21126                             89DEG44' E 116.5 FT to
                                                  As of the date you file, the claim is: Check all that
         Philadelphia, PA                         apply.
         19114-0326                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Principal Residence
       community debt

 Date debt was incurred          06/2014                   Last 4 digits of account number        3494




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Loren George DeMers                                                                                 Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Teresa Karleen DeMers
               First Name                  Middle Name                      Last Name


 2.2     M And T Mortgage                           Describe the property that secures the claim:                   $369,783.15                $381,489.00                  $0.00
         Creditor's Name                            2332 E Alcove Dr Grand Junction,
                                                    CO 81507 Mesa County
                                                    Legal Description: Beg NE Cor Lot 4
                                                    Blk 1 Porters Redlands Sub Sec 17
                                                    1S 1W S 65.5FT S 27DEG50'03SEC
                                                    W 95.79FT S 89DEG44' W 115.29FT
                                                    N 16DEG09'26SEC E 156.38FT N
                                                    89DEG44' E 116.5 FT to
                                                    As of the date you file, the claim is: Check all that
         PO Box 900                                 apply.
         Millsboro, DE 19966                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Principal Residence
       community debt

 Date debt was incurred          11/2007                     Last 4 digits of account number         2442

         Wells Fargo Dlrsvc
 2.3                                                                                                                 $51,139.49                 $46,362.00            $4,777.49
         Wacho                                      Describe the property that secures the claim:
         Creditor's Name                            2015 GMC Sierra 2500 23,500 miles
                                                    In Excellent condition, valued per
                                                    KBB.com ($46,362)
                                                    As of the date you file, the claim is: Check all that
         PO Box 1697                                apply.
         Winterville, NC 28590                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          08/2015                     Last 4 digits of account number         2692


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $437,270.80
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $437,270.80

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Bayview Loan Servicing
          4425 Ponce De Leon Blvd 5th Flr                                                             Last 4 digits of account number
          Coral Gables, FL 33146


Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 3
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 Debtor 1 Loren George DeMers                                                            Case number (if known)
              First Name                Middle Name                  Last Name
 Debtor 2 Teresa Karleen DeMers
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.2
        Franscona Joiner Goodman and Greenstein
        Re M and T Bank                                                            Last 4 digits of account number
        4750 Table Mesa Dr
        Boulder, CO 80305

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.2
        M and T Bank
        PO Box 619063                                                              Last 4 digits of account number
        Dallas, TX 75261-9063

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.1
        Mesa County Court
        544 Rood Ave                                                               Last 4 digits of account number
        Grand Junction, CO 81501

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.2
        Mesa County Public Trustee
        Re Sale No. 2017-0028                                                      Last 4 digits of account number
        544 Rood Ave
        Grand Junction, CO 81501

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.1
        Mesa County Recorder
        544 Rood Ave                                                               Last 4 digits of account number
        Grand Junction, CO 81501

        Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.3
        Wells Fargo
        420 Montgomery St                                                          Last 4 digits of account number
        San Francisco, CA 94104




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                     Loren George DeMers
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Teresa Karleen DeMers
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
                                                                                                           DeMers
                                                                                                           , Loren
                                                                                                           and
 2.1          Colorado Department Of Revenue                         Last 4 digits of account number       Teres              $2,323.48         $2,323.48                   $0.00
              Priority Creditor's Name
              1375 Sherman St                                        When was the debt incurred?           2015
              Denver, CO 80261-0004
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        State Taxes




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                            Case number (if known)

                                                                                                         DeMers
                                                                                                         , Loren
                                                                                                         and
 2.2      Colorado Department Of Revenue                             Last 4 digits of account number     Teresa              $3,910.00    $3,910.00              $0.00
          Priority Creditor's Name
          1375 Sherman St                                            When was the debt incurred?         2018
          Denver, CO 80261-0004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           State Taxes

                                                                                                         DeMers
                                                                                                         , Loren
                                                                                                         &
 2.3      Internal Revenue Service                                   Last 4 digits of account number     Teresa              $4,262.92    $4,262.92              $0.00
          Priority Creditor's Name
          Attn Bankruptcy Department                                 When was the debt incurred?         2018
          PO Box 21126
          Philadelphia, PA 19114-0326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Federal Taxes

                                                                                                         DeMers
                                                                                                         , Loren
                                                                                                         &
 2.4      Internal Revenue Service                                   Last 4 digits of account number     Teresa            $13,883.04    $13,883.04              $0.00
          Priority Creditor's Name
          Attn Bankruptcy Department                                 When was the debt incurred?         2017
          PO Box 21126
          Philadelphia, PA 19114-0326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Federal Taxes


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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                            Case number (if known)

                                                                                                         DeMers
                                                                                                         , Loren
                                                                                                         and
 2.5        Internal Revenue Service                                 Last 4 digits of account number     Teresa                 $804.77                $804.77                   $0.00
            Priority Creditor's Name
            Attn Bankruptcy Department                               When was the debt incurred?         2016
            PO Box 21126
            Philadelphia, PA 19114-0326
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            Federal Taxes


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Best Buy Cbna                                              Last 4 digits of account number        0096                                                        $3,463.06
            Nonpriority Creditor's Name
            PO Box 6497                                                When was the debt incurred?            10/2007
            Sioux Falls, SD 57117
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                            Revolving / Credit Service - Disputed as to
                                                                                            the amount of late fees, overlimit fees, or
                                                                                            any other additional fees or charges and
                                                                                            Debtor(s) disputes the validity of any
                                                                                            purported assignments or sale of this
                 Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.2      Capital One                                                Last 4 digits of account number       7257                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?           06/2005
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


 4.3      Capital One                                                Last 4 digits of account number       4676                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?           06/2005
          Salt Lake City, UT 84130-0287
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.4      Capital One                                                Last 4 digits of account number       7852                                             $4,801.36
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?           01/2007
          Salt Lake City, UT 84130-0287
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


 4.5      Capital One Bank Usa Na                                    Last 4 digits of account number       0677                                               $446.05
          Nonpriority Creditor's Name
          PO Box 30281                                               When was the debt incurred?           08/2005
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.6      Capital One Bank Usa Na                                    Last 4 digits of account number       7257                                             $7,596.23
          Nonpriority Creditor's Name
          PO Box 30281                                               When was the debt incurred?           06/2005
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


 4.7      Capital One Bank Usa Na                                    Last 4 digits of account number       5003                                             $5,110.10
          Nonpriority Creditor's Name
          PO Box 30281                                               When was the debt incurred?           01/2007
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.8      Cb Herbergers                                              Last 4 digits of account number       5800                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 182789                                              When was the debt incurred?           03/2011
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of any additional fees or
                                                                                         charges and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.


 4.9      CD Consulting & Operating Co.                              Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          87 Barnett Shale Dr.                                       When was the debt incurred?           2018
          Bridgeport, TX 76426
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current defendant in civil
                                                                                         claims that are disputed and/or
              Yes                                                       Other. Specify   unliquidated and/or contingent.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.1
 0        Chase                                                      Last 4 digits of account number       4418                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 15298                                               When was the debt incurred?           10/2005
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


 4.1
 1        Chase Bank One Card Serv                                   Last 4 digits of account number       4418                                             $3,781.13
          Nonpriority Creditor's Name
          PO Box 15298                                               When was the debt incurred?           10/2015
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.1
 2        Chase Card                                                 Last 4 digits of account number       6693                                             $7,566.27
          Nonpriority Creditor's Name
          PO Box 15298                                               When was the debt incurred?           10/2005
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


                                                                                                           DeMers,
 4.1                                                                                                       Loren and
 3        Colorado Department Of Revenue                             Last 4 digits of account number       Teresa                                           $1,624.00
          Nonpriority Creditor's Name
          1375 Sherman St                                            When was the debt incurred?           2013
          Denver, CO 80261-0004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   State Taxes




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

                                                                                                           DeMers,
 4.1                                                                                                       Loren and
 4        Colorado Department Of Revenue                             Last 4 digits of account number       Teresa                                           $1,588.04
          Nonpriority Creditor's Name
          1375 Sherman St                                            When was the debt incurred?           2014
          Denver, CO 80261-0004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   State Taxes


                                                                                                           DeMers,
 4.1                                                                                                       Loren and
 5        Colorado Department Of Revenue                             Last 4 digits of account number       Teresa                                             $996.25
          Nonpriority Creditor's Name
          1375 Sherman St                                            When was the debt incurred?           2012
          Denver, CO 80261-0004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   State Taxes




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.1
 6        Credit First Na Firestone                                  Last 4 digits of account number       2169                                             $2,404.07
          Nonpriority Creditor's Name
          PO Box 81083                                               When was the debt incurred?           12/2010
          Cleveland, OH 44181
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


 4.1
 7        Discover Fincl Svc Llc                                     Last 4 digits of account number       7718                                           $18,456.73
          Nonpriority Creditor's Name
          PO Box 15316                                               When was the debt incurred?           01/2012
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

                                                                                                           DeMers,
 4.1                                                                                                       Loren and
 8        Equifax Infomation Services Llc                            Last 4 digits of account number       Teresa                                                 $0.00
          Nonpriority Creditor's Name
          PO Box 740241                                              When was the debt incurred?           Unknown
          Atlanta, GA 30374-0241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Report


 4.1
 9        Eudomario Castillo                                         Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          c/o Ryan H Zehl, Esq.                                      When was the debt incurred?           2018
          Zehl & Associates, PC
          2700 Post Oak Blvd, Suite 1000
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current plaintiff in civil claims
                                                                                         that are disputed and/or unliquidated
              Yes                                                       Other. Specify   and/or contingent.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

                                                                                                           DeMers,
 4.2                                                                                                       Loren and
 0        Experian                                                   Last 4 digits of account number       Teresa                                                 $0.00
          Nonpriority Creditor's Name
          PO Box 9529                                                When was the debt incurred?           Unknown
          Allen, TX 75013-9529
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Report


 4.2
 1        Ford Motor Credit                                          Last 4 digits of account number       2382                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 542000                                              When was the debt incurred?           11/2014
          Omaha, NE 68154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease (2015 Ford Explorer)


 4.2
 2        Ford Motor Credit                                          Last 4 digits of account number       5111                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 542000                                              When was the debt incurred?           11/2014
          Omaha, NE 68154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Lease




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.2                                                                                                       LTDCONSU
 3        Grand Mesa Cpas Llc                                        Last 4 digits of account number       LTI                                                $410.00
          Nonpriority Creditor's Name
          744 Horizon Court Ste 320                                  When was the debt incurred?           06/2019
          Grand Junction, CO 81506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Accounting Services - Disputed as to the
                                                                                         amount of any additional fees or charges
                                                                                         and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.


                                                                                                           DeMers,
 4.2                                                                                                       Loren and
 4        Grand Mesa Cpas Llc                                        Last 4 digits of account number       Teresa                                             $370.00
          Nonpriority Creditor's Name
          744 Horizon Court Ste 320                                  When was the debt incurred?           06/2019
          Grand Junction, CO 81506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Accounting Services - Disputed as to the
                                                                                         amount of any additional fees or charges
                                                                                         and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

                                                                                                           DeMers,
 4.2                                                                                                       Loren and
 5        Internal Revenue Service                                   Last 4 digits of account number       Teresa                                           $8,160.35
          Nonpriority Creditor's Name
          Attn Bankruptcy Department                                 When was the debt incurred?           2012
          PO Box 21126
          Philadelphia, PA 19114-0326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Federal Taxes


                                                                                                           DeMers,
 4.2                                                                                                       Loren and
 6        Internal Revenue Service                                   Last 4 digits of account number       Teresa                                             $131.90
          Nonpriority Creditor's Name
          Attn Bankruptcy Department                                 When was the debt incurred?           2011
          PO Box 21126
          Philadelphia, PA 19114-0326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Federal Taxes




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

                                                                                                           DeMers,
 4.2                                                                                                       Loren and
 7        Internal Revenue Service                                   Last 4 digits of account number       Teresa                                         $20,578.28
          Nonpriority Creditor's Name
          Attn Bankruptcy Department                                 When was the debt incurred?           2015
          PO Box 21126
          Philadelphia, PA 19114-0326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Federal Taxes


 4.2
 8        Ironclad Energy LLC                                        Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          1010 Southview Cir.                                        When was the debt incurred?           2018
          Center, TX 75935
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current defendant in civil
                                                                                         claims that are disputed and/or
              Yes                                                       Other. Specify   unliquidated and/or contingent.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.2
 9        Jay Boyd                                                   Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          c/o Ryan H Zehl, Esq.                                      When was the debt incurred?           2018
          Zehl & Associates, PC
          2700 Post Oak Blvd, Suite 1000
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current plaintiff in civil claims
                                                                                         that are disputed and/or unliquidated
              Yes                                                       Other. Specify   and/or contingent.


 4.3
 0        Jeffrey Chaffin                                            Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          c/o W. Mark Lanier                                         When was the debt incurred?           2018
          The Lanier Law Firm, P.C.
          10940 W Sam Houston Pkwy N.,
          Suite 100
          Houston, TX 77064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current plaintiff in civil claims
                                                                                         that are disputed and/or unliquidated
              Yes                                                       Other. Specify   and/or contingent.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.3
 1        Jeffrey Foster                                             Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          c/o Ryan H Zehl, Esq.                                      When was the debt incurred?           2018
          Zehl & Associates, PC
          2700 Post Oak Blvd, Suite 1000
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current plaintiff in civil claims
                                                                                         that are disputed and/or unliquidated
              Yes                                                       Other. Specify   and/or contingent.


 4.3
 2        Kohls Department Store                                     Last 4 digits of account number       9108                                             $2,946.41
          Nonpriority Creditor's Name
          PO Box 3115                                                When was the debt incurred?           07/2009
          Milwaukee, WI 53201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.3
 3        M and T Bank                                               Last 4 digits of account number       5092                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 900                                                 When was the debt incurred?           11/2017
          Millsboro, DE 19966
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Mortgage


 4.3
 4        Marathon Oil Company                                       Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          5555 San Felipe                                            When was the debt incurred?           2018
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current defendant in civil
                                                                                         claims that are disputed and/or
              Yes                                                       Other. Specify   unliquidated and/or contingent.


 4.3
 5        Mark Bransom                                               Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          c/o Ryan H Zehl, Esq.                                      When was the debt incurred?           2018
          Zehl & Associates, PC
          2700 Post Oak Blvd, Suite 1000
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current defendant in civil
                                                                                         claims that are disputed and/or
              Yes                                                       Other. Specify   unliquidated and/or contingent.


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 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.3
 6        Perfx Wireline Services, LLC                               Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           2018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current defendant in civil
                                                                                         claims that are disputed and/or
              Yes                                                       Other. Specify   unliquidated and/or contingent.


 4.3
 7        Rc Willey                                                  Last 4 digits of account number       2679                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 65320                                               When was the debt incurred?           11/2005
          Salt Lake City, UT 84165-0320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of any additional fees or
                                                                                         charges and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.3
 8        Shaw Floors                                                Last 4 digits of account number       5054                                                   $0.00
          Nonpriority Creditor's Name
          PO Drawer 2128                                             When was the debt incurred?           05/2015
          616 E Walnut Ave
          Dalton, GA 30722-2128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of any additional fees or
                                                                                         charges and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.


 4.3
 9        Syncb Lowes                                                Last 4 digits of account number       1986                                             $4,759.18
          Nonpriority Creditor's Name
          PO Box 965005                                              When was the debt incurred?           03/2008
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 39
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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.4
 0        Syncb Old Navy                                             Last 4 digits of account number       7577                                             $2,742.78
          Nonpriority Creditor's Name
          PO Box 965005                                              When was the debt incurred?           04/2014
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


 4.4
 1        Syncb Paypal Extras Mc                                     Last 4 digits of account number       5562                                             $4,362.46
          Nonpriority Creditor's Name
          PO Box 965005                                              When was the debt incurred?           10/2015
          Orlando, FL 32896-5005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.4
 2        Syncb Sams Club                                            Last 4 digits of account number       3884                                             $5,787.55
          Nonpriority Creditor's Name
          PO Box 965005                                              When was the debt incurred?           04/2007
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.


 4.4
 3        The Home Depot Cbna                                        Last 4 digits of account number       1515                                             $1,547.28
          Nonpriority Creditor's Name
          PO Box 6497                                                When was the debt incurred?           08/2008
          Sioux Falls, SD 57117-6497
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of late fees, overlimit fees, or
                                                                                         any other additional fees or charges and
                                                                                         Debtor(s) disputes the validity of any
                                                                                         purported assignments or sale of this
              Yes                                                       Other. Specify   receivable to another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

                                                                                                           DeMers,
 4.4                                                                                                       Loren and
 4        Transunion                                                 Last 4 digits of account number       Teresa                                                 $0.00
          Nonpriority Creditor's Name
          2 Baldwin Place PO Box 1000                                When was the debt incurred?           Unknown
          Chester, PA 19022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Report


 4.4
 5        Tres Management, Inc.                                      Last 4 digits of account number       1721                                             Unknown
          Nonpriority Creditor's Name
          7011 North Robinson                                        When was the debt incurred?           2018
          Oklahoma City, OK 73116
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current defendant in civil
                                                                                         claims that are disputed and/or
              Yes                                                       Other. Specify   unliquidated and/or contingent.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.4
 6        Wells Fargo Bank Na                                        Last 4 digits of account number       6274                                             Unknown
          Nonpriority Creditor's Name
          PO Box 14517                                               When was the debt incurred?           06/2009
          Des Moines, IA 50306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of any additional fees or
                                                                                         charges and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.


 4.4
 7        Wells Fargo Dealer Svcs                                    Last 4 digits of account number       6314                                             Unknown
          Nonpriority Creditor's Name
          PO Box 10709                                               When was the debt incurred?           08/2015
          Raleigh, NC 27605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Auto Installment




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.4
 8        Wf Crd Svc                                                 Last 4 digits of account number       1781                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 14517                                               When was the debt incurred?           07/2012
          Des Moines, IA 50306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of any additional fees or
                                                                                         charges and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.


 4.4
 9        Wffnb Home Projects                                        Last 4 digits of account number       9937                                             $1,624.41
          Nonpriority Creditor's Name
          CSCL DSP TM MAC N8235 04M                                  When was the debt incurred?           06/2009
          PO Box 14517
          Des Moines, IA 50306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Revolving / Credit Service - Disputed as to
                                                                                         the amount of any additional fees or
                                                                                         charges and the validity of any purported
                                                                                         assignments or sale of this receivable to
              Yes                                                       Other. Specify   another entity.




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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 4.5
 0         WPX Energy Permian, LLC                                   Last 4 digits of account number       1721                                                     Unknown
           Nonpriority Creditor's Name
           3500 One Williams Center                                  When was the debt incurred?           2018
           Tulsa, OK 74172
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Potential or current defendant in civil
                                                                                         claims that are disputed and/or
              Yes                                                       Other. Specify   unliquidated and/or contingent.

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 2.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)


 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 2.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Attorney General For Colorado                                 Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1225 17th St Ste 700                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Denver, CO 80202-5598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Best Buy                                                      Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 790441                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63179-0441
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital Management Services Lp                                Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Discover                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 698 1/2 South Ogden St
 Buffalo, NY 14206-2317
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital Management Services Lp                                Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Discover                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 1776 S Jackson St No 900
 Denver, CO 80210
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital Management Services Lp                                Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Discover                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 964
 Buffalo, NY 14220-0120
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130-0287
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 701 Liberty Way                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Chester, VA 23836-2702
                                                               Last 4 digits of account number

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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 701 Liberty Way                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Chester, VA 23836-2702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130-0287
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 701 Liberty Way                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Chester, VA 23836-2702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130-0287
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 30285                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 701 Liberty Way                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Chester, VA 23836-2702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 701 Liberty Way                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Chester, VA 23836-2702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 701 Liberty Way                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Chester, VA 23836-2702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank Usa Na                                       Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 30281                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Services Llc                                      Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 70886                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Charlotte, NC 28272-9903
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cardmember Service                                            Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15548                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19886-5548
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cfna Firestone                                                Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 81315

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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                           Case number (if known)

 Cleveland, OH 44181-0315                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn Cardmember Services                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 2500 Westfield Dr
 Elgin, IL 60124
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15123                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn Cardmember Services                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 15548
 Wilmington, DE 19886-5548
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15123                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank One Card Serv                                      Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15298                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank Usa Na                                             Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Recovery Department                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 10018
 Kennesaw, GA 30156-9204
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank Usa Na                                             Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Recovery Department                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 10018
 Kennesaw, GA 30156-9204
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank Usa Na                                             Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Recovery Department                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 10018
 Kennesaw, GA 30156-9204
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Cardmember Service                                      Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 94014                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Palatine, IL 60094
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank Herbergers                                      Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 182273                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218-2273
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 2 Teresa Karleen DeMers                                                                           Case number (if known)

 Comenity Bank Hrbrger                                         Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 182789                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Columbus, OH 43218
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cory M. Curtis, Esq.                                          Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Baker & Hostelter LLP                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 811 Main Street, Suite 1100
 Houston, TX 77002
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit First National Assoc                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 81410                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44181-0410
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit First National Assoc                                   Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6275 Eastland Rd                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Brookpark, OH 44142
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit First Natl Assoc                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 81344                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44181-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit First Natl Assoc                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 81315                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44181-0315
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover                                                      Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 30943                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130-0943
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Financial Services                                   Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 8003                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Hilliard, OH 43026
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Discover Fincl Svc Llc                                        Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15316                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5316
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Egs Financial Care Inc                                        Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Synchrony bank                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1020 Dept 806
 Horsham, PA 19044
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Egs Financial Care Inc                                        Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Synchrony Bank                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 700 17th St Ste 200
 Denver, CO 80202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                           Case number (if known)

 Ford Credit                                                   Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 790093                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63179-0093
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fred L. Shuchart, Esq.                                        Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Cooper & Scully, P.C.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 815 Walker St, Site 1040
 Houston, TX 77002-2000
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Home Depot                                                    Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 790328                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Home Depot Credit Services                                    Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 20483                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Integral Recoveries                                           Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 750 W Hampden Ave Ste 501                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Englewood, CO 80110
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Integral Recoveries                                           Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1388                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Englewood, CO 80150
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Integral Recoveries                                           Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Colorado Department of                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Revenue
 750 W Hampden Ave Ste 501
 Englewood, CO 80110
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Integral Recoveries                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Colorado Department of                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Revenue
 750 W Hampden Ave Ste 501
 Englewood, CO 80110
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Integral Recoveries                                           Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Colorado Department of                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Revenue
 750 W Hampden Ave Ste 501
 Englewood, CO 80110
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Integral Recoveries                                           Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Colorado Department of                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Revenue
 750 W Hampden Ave Ste 501
 Englewood, CO 80110
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

 James H. Robichaux, Esq                                       Line 4.34 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 Branscomb PC                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 802 N. Carancahua, Suite 1900
 Corpus Christi, TX 78401-0036
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JPMCB Card Services                                           Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15369                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 JPMCB Card Services                                           Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15369                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kohls                                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3084                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201-3120
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kohls                                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3043                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201-3043
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kohls Cap One                                                 Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3115                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kohls Credit Recovery                                         Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3004                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lowes                                                         Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1111                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 North Wilkesboro, NC 28656
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lowes Synchrony Bank                                          Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 530914                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30353-0914
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Marathon Oil (West Texas) LP                                  Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5555 San Felipe                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77056
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Marathon Oil Company                                          Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o The Corporation Company                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 7700 E Arapahoe Rd Ste 220
 Centennial, CO 80112-1268
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Marathon Oil Corporation                                      Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 5555 San Felipe                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77056
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management                                     Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8875 Aero Dr Ste 200                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management                                     Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 350 Camino De La Reina, Suite 100                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management                                     Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 350 Camino De La Reina, Suite 100                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management                                     Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 350 Camino De La Reina                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management                                     Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 350 Camino De La Reina                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 100
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Credit Management                                     Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8875 Aero Dr Ste 200                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92123
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nick Lanza, Esq.                                              Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Lanza Law Firm, PC                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 2505 Algerian Way
 Houston, TX 77098
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Group                                               Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Kohls                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO box 390846
 Minneapolis, MN 55439
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Group                                               Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Kohls                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 7831 Glenroy Rd, Ste 250
 Minneapolis, MN 55439
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Northland Group                                               Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Kohls                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 390945
 Minneapolis, MN 55439
                                                               Last 4 digits of account number

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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Old Navy                                                      Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 200 Old Navy Lane                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Grove City, OH 43123-8605
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Old Navy Visa Syncb                                           Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 960017                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-0017
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paypal                                                        Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 960080                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-0080
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paypal Credit Svcs Syncb                                      Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 960080                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-0080
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Citibank Best Buy                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Citibank Besty Buy                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 4600 S Syracuse St Ste 966
 Denver, CO 80237
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Capital One DMB                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 4600 S Syracuse St Ste 966
 Denver, CO 80237
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Capital One DMB                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Capital One Bank                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Capital One Bank                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 4600 S Syracuse St Ste 966
 Denver, CO 80237
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 Re Citibank Home Depot                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 4600 S Syracuse St Ste 966
 Denver, CO 80237
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Citibank Home Depot                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Capital One Bank Usa Na                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 120 Corporate Blvd Ste 100
 Norfolk, VA 23502
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery Associates                                 Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Re Capital One Bank                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 4600 S Syracuse St Ste 966
 Denver, CO 80237
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rc Willey Home Furnishings                                    Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2301 S 300 W                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84115
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ryan H. Zehl, Esq.                                            Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Cause No. 2018-51721                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Zehl & Associates, PC
 2700 Post Oak Blvd, Suite 1000
 Houston, TX 77056
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ryan H. Zehl, Esq.                                            Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Cause No. 2018-51721                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Zehl & Associates, PC
 2700 Post Oak Blvd, Suite 1000
 Houston, TX 77056
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ryan H. Zehl, Esq.                                            Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Cause No. 2018-51721                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Zehl & Associates, PC
 2700 Post Oak Blvd, Suite 1000
 Houston, TX 77056
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ryan H. Zehl, Esq.                                            Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Re Cause No. 2018-51721                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Zehl & Associates, PC
 2700 Post Oak Blvd, Suite 1000
 Houston, TX 77056
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sams Club                                                     Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965004                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5004

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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                          Case number (if known)

                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb Home                                                    Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965036                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb Old Navy Dc                                             Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Syncb Sams                                                    Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank                                                Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965004                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896-5004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank Lowes                                          Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 965005                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Orlando, FL 32896
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank Paypal Extras                                  Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Mastercard                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 960080
 Orlando, FL 32896-0080
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank Sams Club                                      Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Personal Credit                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 530942
 Atlanta, GA 30353-0942
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 2.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 37 of 39
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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                           Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 2.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney General                                           Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 950 Pennsylvania Ave Nw                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Washington, DC 20530-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 W. Mark Lanier, Esq                                           Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 The Lanier Law Firm, P.C.                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 10940 W Sam Houston Pkwy N.,
 Suite 100
 Houston, TX 77064
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Card Services                                     Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 660553                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Dallas, TX 75266-0553
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Financial Nat Bank                                Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 800 Walnut St                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50309
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Home Project Visa                                 Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 800 Walnut St                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Des Moines, IA 50309
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 38 of 39
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 Debtor 1 Loren George DeMers
 Debtor 2 Teresa Karleen DeMers                                                                         Case number (if known)

 WPX Energy Permian LLC                                        Line 4.50 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 c/o COGENCY GLOBAL INC                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 7700 E. Arapahoe Road, Suite 220
 Englewood, CO 80112
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                          0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.       $                   25,184.21
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                   25,184.21

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                          0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                          0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                  111,253.89

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                  111,253.89




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 39 of 39
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 Fill in this information to identify your case:

 Debtor 1                  Loren George DeMers
                           First Name                         Middle Name            Last Name

 Debtor 2                  Teresa Karleen DeMers
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Any Creditor with Arbitration Clause                                       Debtor(s) specifically rejects any contractual provisions
               Provisions                                                                 relating to claim arbitration for any debts as indicated in
                                                                                          the schedules attached hereto and incorporated herein
                                                                                          by reference.

     2.2       Verizon                                                                    Contract for Mobile Services with a term of 2 years.
               PO Box 1548
               Lynnwood, WA 98046-1548




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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           Case:19-20176-MER Doc#:1 Filed:11/26/19                                     Entered:11/26/19 15:51:15 Page69 of 81

 Fill in this information to identify your case:

 Debtor 1                   Loren George DeMers
                            First Name                           Middle Name       Last Name

 Debtor 2                   Teresa Karleen DeMers
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         LTD Consulting, Inc                                                                  Schedule D, line
                2332 E Alcove Dr                                                                     Schedule E/F, line     4.29
                Grand Junction, CO 81507
                                                                                                     Schedule G
                Business
                                                                                                   Jay Boyd



    3.2         LTD Consulting, Inc                                                                  Schedule D, line
                2332 E Alcove Dr                                                                     Schedule E/F, line     4.19
                Grand Junction, CO 81507
                                                                                                     Schedule G
                Business
                                                                                                   Eudomario Castillo



    3.3         LTD Consulting, Inc                                                                  Schedule D, line
                2332 E Alcove Dr                                                                     Schedule E/F, line     4.31
                Grand Junction, CO 81507
                                                                                                     Schedule G
                Business
                                                                                                   Jeffrey Foster




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 3
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          Case:19-20176-MER Doc#:1 Filed:11/26/19                            Entered:11/26/19 15:51:15 Page70 of 81

              Loren George DeMers
 Debtor 1 Teresa Karleen DeMers                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      LTD Consulting, Inc                                                           Schedule D, line
             2332 E Alcove Dr                                                              Schedule E/F, line    4.35
             Grand Junction, CO 81507
                                                                                           Schedule G
             Business
                                                                                         Mark Bransom



    3.5      LTD Consulting, Inc                                                           Schedule D, line
             2332 E Alcove Dr                                                              Schedule E/F, line  4.45
             Grand Junction, CO 81507
                                                                                           Schedule G
             Business
                                                                                         Tres Management, Inc.



    3.6      LTD Consulting, Inc                                                           Schedule D, line
             2332 E Alcove Dr                                                              Schedule E/F, line 4.9
             Grand Junction, CO 81507
                                                                                           Schedule G
             Business
                                                                                         CD Consulting & Operating Co.



    3.7      LTD Consulting, Inc                                                            Schedule D, line
             2332 E Alcove Dr                                                               Schedule E/F, line   4.28
             Grand Junction, CO 81507
                                                                                            Schedule G
             Business
                                                                                         Ironclad Energy LLC



    3.8      LTD Consulting, Inc                                                           Schedule D, line
             2332 E Alcove Dr                                                              Schedule E/F, line 4.34
             Grand Junction, CO 81507
                                                                                           Schedule G
             Business
                                                                                         Marathon Oil Company



    3.9      LTD Consulting, Inc                                                           Schedule D, line
             2332 E Alcove Dr                                                              Schedule E/F, line   4.36
             Grand Junction, CO 81507
                                                                                           Schedule G
             Business
                                                                                         Perfx Wireline Services, LLC



    3.10     LTD Consulting, Inc                                                          Schedule D, line
             2332 E Alcove Dr                                                             Schedule E/F, line  4.50
             Grand Junction, CO 81507
                                                                                          Schedule G
             Business
                                                                                         WPX Energy Permian, LLC



    3.11     LTD Consulting, Inc                                                           Schedule D, line
             2332 E Alcove Dr                                                              Schedule E/F, line    4.30
             Grand Junction, CO 81507
                                                                                           Schedule G
             Business
                                                                                         Jeffrey Chaffin




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 2 of 3
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              Loren George DeMers
 Debtor 1 Teresa Karleen DeMers                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.12     LTD Consulting, Inc                                                           Schedule D, line
             2332 E Alcove Dr                                                              Schedule E/F, line 4.23
             Grand Junction, CO 81507
                                                                                           Schedule G
             Business Debt
                                                                                         Grand Mesa Cpas Llc




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 3 of 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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Fill in this information to identify your case:

Debtor 1                      Loren George DeMers

Debtor 2                      Teresa Karleen DeMers
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF COLORADO

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Tool Pusher
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       SPN Well Services Inc

       Occupation may include student        Employer's address
                                                                   PO Box 1299
       or homemaker, if it applies.
                                                                   Gainesville, TX 76241-1299

                                             How long employed there?         1 month

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        5,451.67      $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$          769.72      +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      6,221.39            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Loren George DeMers
Debtor 2   Teresa Karleen DeMers                                                                 Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      6,221.39       $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,158.59   $                   0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                   0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                   0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                   0.00
     5e.    Insurance                                                                     5e.        $          0.00   $                   0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                   0.00
     5g.    Union dues                                                                    5g.        $          0.00   $                   0.00
     5h.    Other deductions. Specify: Dental                                             5h.+       $         34.75 + $                   0.00
            Gtl                                                                                      $          4.12   $                   0.00
            Medical                                                                                  $        487.50   $                   0.00
            Supp Life                                                                                $        157.95   $                   0.00
            Tobacco Surchar                                                                          $         43.33   $                   0.00
            Vision                                                                                   $          9.40   $                   0.00
            Ltd Imputed                                                                              $         19.05   $                   0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,914.69       $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,306.70       $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00       $               0.00
     8d. Unemployment compensation                                                        8d.        $          0.00       $               0.00
     8e. Social Security                                                                  8e.        $      2,041.00       $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,041.00       $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,347.70 + $           0.00 = $           6,347.70
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $           6,347.70
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: As of 10/26/2019, Debtor Wife is no longer employed.


Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Loren George DeMers                                                               Check if this is:
                                                                                                               An amended filing
Debtor 2                 Teresa Karleen DeMers                                                                 A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF COLORADO                                                       MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,500.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Loren George DeMers
Debtor 2     Teresa Karleen DeMers                                                                     Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  70.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 480.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                700.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                150.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 700.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                  20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  175.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  166.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  964.02
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Storage Unit                                                        21. +$                                                216.00
      Debtor Husband payment for Rental in Rangely, CO                                            +$                                               450.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,491.02
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,491.02
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,347.70
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,491.02

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -143.32

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Loren George DeMers
                             First Name                     Middle Name             Last Name

 Debtor 2                    Teresa Karleen DeMers
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Loren George DeMers                                                   X   /s/ Teresa Karleen DeMers
              Loren George DeMers                                                       Teresa Karleen DeMers
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       November 26, 2019                                              Date    November 26, 2019




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                            Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                    $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                          $75   administrative fee

        Your debts are primarily consumer debts.                                            +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                      $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                                 Chapter 7 is for individuals who have financial
                                                                                            difficulty preventing them from paying their debts
                                                                                            and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                              property to be used to pay their creditors. The
 individuals                                                                                primary purpose of filing under chapter 7 is to have
                                                                                            your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                     relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                         many of your pre-bankruptcy debts. Exceptions exist
                                                                                            for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                             be enforced after discharge. For example, a creditor
                                                                                            may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                         repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                               However, if the court finds that you have committed
                   for family farmers or                                                    certain kinds of improper conduct described in the
                   fishermen                                                                Bankruptcy Code, the court may deny your
                                                                                            discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                             You should know that even if you file chapter 7 and
                   income                                                                   you receive a discharge, some debts are not
                                                                                            discharged under the law. Therefore, you may still
                                                                                            be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                              most taxes;
 chapter.
                                                                                                most student loans;

                                                                                                domestic support and property settlement
                                                                                                obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                           Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
             farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                           the court approves your plan, the court will allow you
                                                                                           to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                   years or 5 years, depending on your income and other
 +                  $75       administrative fee                                           factors.
                   $275       total fee
                                                                                           After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                    pay include:
 are not paid.
                                                                                                  domestic support obligations,

                                                                                                  most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                             certain taxes,
             income
                                                                                                  debts for fraud or theft,

                   $235       filing fee                                                          debts for fraud or defalcation while acting in a
 +                  $75       administrative fee                                                  fiduciary capacity,
                   $310       total fee
                                                                                                  most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                              certain debts that are not listed in your
 installments over a period of time and to discharge                                              bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                  certain long-term secured debts.




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                                                                                           A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case and
                                                                                           each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                   each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

 For more information about the documents and                                              The law generally requires that you receive a credit
 their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                         case, both spouses must receive the briefing. With
                                                                                           limited exceptions, you must receive it within the 180
                                                                                           days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                               briefing is usually conducted by telephone or on the
                                                                                           Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                    In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                          must complete a financial management instructional
        connection with a bankruptcy case, you may be                                      course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                        filing a joint case, both spouses must complete the
                                                                                           course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                   You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                  both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                            .
        Department of Justice.
                                                                                           In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                              http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                           BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                         AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
 that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                   the list.
 of any changes in your address.




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                                                               United States Bankruptcy Court
                                                                      District of Colorado
            Loren George DeMers
 In re      Teresa Karleen DeMers                                                                  Case No.
                                                                                Debtor(s)          Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: November 26, 2019                                             /s/ Loren George DeMers
                                                                     Loren George DeMers
                                                                     Signature of Debtor

 Date: November 26, 2019                                             /s/ Teresa Karleen DeMers
                                                                     Teresa Karleen DeMers
                                                                     Signature of Debtor




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